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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MISSOURI
                            EASTERN DIVISION

VOLM COMPANIES, INCORPORATED, )
et al.,                       )
                              )
           Plaintiffs,        )
                              )
        v.                    )                      Case No. 4:22 CV 373 CDP
                              )
MARK’ ANDY, INC.,             )
                              )
           Defendant.         )

                         MEMORANDUM AND ORDER

      Both sides to this litigation have filed motions for leave to file certain

documents, materials, and memoranda under seal. (ECF 124, 126.) In accordance

with Local Rule 13.05, they have also filed redacted versions of the proposed

sealed material. (ECF 145, 149, 150, 152.) But the redactions comprise

substantial portions of the parties’ memoranda; all of the “facts” set out in

defendant’s statement of uncontroverted material facts; and the entirety of all

material filed as exhibits to the parties’ motions for partial summary judgment

and/or to exclude expert testimony – i.e., expert reports, deposition excerpts, and

relevant contracts, save for some captions of depositions and certificates of court

reporters.

      Courts are open to the public and the public has a right of access to materials

filed with the Court, with exceptions only as necessary to protect safety or privacy
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of individuals or to protect legitimate business interests. E.D. Mo. L.R.

13.05(A)(2). Although during the course of this litigation the parties may have

disclosed or deemed some of the submitted material as “confidential” pursuant to

the protective order in this case, that does not automatically justifiy sealing the

material when it is filed with the Court. E.D. Mo. L.R. 13.05(A)(3).

      My review of the sealed material compared with the redacted versions shows

that the vast majority of the redactions do not contain material or information that

lawfully should be kept confidential. Each side has presented memoranda in

support of the motions to seal which provide a formulaic recitation that the

redacted material contains confidential and proprietary business and financial

information. But my review of the documents themselves finds that to be a small

amount of the redacted material. I realize that each party has filed certain

documents that the opposing party has marked as confidential pursuant to the

protective order, but that relatively common situation simply requires that counsel

meet with opposing counsel and confer to determine exactly what, and no more,

can legitimately be withheld from public view.

      I will therefore order the parties to meet and confer and discuss appropriate

redactions and to resubmit within seven (7) days properly redacted copies of the

sealed memoranda, statements, and materials filed in relation to their respective

motions. Only that material lawfully considered confidential for purposes of



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protecting truly valid business or personal interests may be redacted from the

documents.

      Accordingly,

      IT IS HEREBY ORDERED that, within seven (7) days of the date of this

Order, the parties must meet and confer and file in the public record properly

redacted copies of the sealed memoranda, statements, and exhibits submitted in

relation to their respective motions for partial summary judgment and/or to exclude

expert testimony, with only the specific information that must be sealed redacted

from the documents. The parties’ motions for leave to file under seal remain

pending.

      The deadlines and schedule set out in the Third Amended Case

Management Order (ECF 109), including and especially those governing

briefing on motions for summary judgment and to limit or exclude expert

testimony, remain in full force and effect and will not be changed because of

this order. Nothing in this Order alters or extends those firm deadlines.




                                       _________________________________
                                       CATHERINE D. PERRY
                                       UNITED STATES DISTRICT JUDGE


Dated this 27th day of August, 2024.

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